           Case 1:19-vv-01018-UNJ Document 31 Filed 05/05/21 Page 1 of 7




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1018V
                                          UNPUBLISHED


    SHERRY LEIGHTON-HERRMANN,                                   Chief Special Master Corcoran

                         Petitioner,                            Filed: April 5, 2021
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Guillain-Barre
                                                                Syndrome (GBS)
                         Respondent.


Edward M. Kraus, Law Offices of Chicago Kent, Chicago, IL, for Petitioner.

Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On July 16, 2019, Sherry Leighton-Herrmann filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2
(the “Vaccine Act”). Petitioner alleges that she suffered Guillain Barré syndrome (“GBS”)
as a result of an influenza (“flu”) vaccine administered on October 5, 2016. Petition at 1;
Stipulation, filed at April 1, 2021, ¶¶ 2, 4. Petitioner further alleges she received the
vaccine in the United States, that she experienced the residual effects of her injury for
more than six months, and there has been no prior award or settlement of a civil action
for damages as a result of her alleged condition. Petition at 1, 13; Stipulation at ¶¶ .
“Respondent denies that [P]etitioner sustained a GBS Table injury; denies that
[P]etitioner’s alleged GBS and residual effects were caused-in-fact by the flu vaccine; and
denies that the flu vaccine caused [P]etitioner any other injury or her current condition.”
Stipulation at ¶ 6.


1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:19-vv-01018-UNJ Document 31 Filed 05/05/21 Page 2 of 7



       Nevertheless, on April 1, 2021, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $105,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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         Case 1:19-vv-01018-UNJ Document 31 Filed 05/05/21 Page 3 of 7




                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


 SHERRY LEIGHTON-HERRMANN,

                Petitioner,                            No. 19-1018V
                                                       Chief Special Master Corcoran
 v.                                                    ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                Respondent.


                                         STIPULATION

       The parties hereby stipulate to the following matters:

        I. Sherry Leighton-Herrmann ("petitioner"), filed a petition for vaccine compensation

under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the

"Vaccine Program"). The petition seeks compensation for injuries allegedly related to

petitioner's receipt of an influenza ("flu") vaccine, which vaccine is contained in the Vaccine

Injury Table (the "Table"), 42 C.F .R. § I 00.3(a)

       2. Petitioner received a flu vaccine on October 5, 2016.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she sustained a vaccine-related injury diagnosed as Guillain-

Barre Syndrome ("GBS") as a result of the flu vaccine. Petitioner further alleges that she

suffered the residual effects of her alleged injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her alleged injury.
            Case 1:19-vv-01018-UNJ Document 31 Filed 05/05/21 Page 4 of 7




        6. Respondent denies that petitioner sustained a GBS Table injury; denies that

petitioner's alleged GBS and residual effects were caused-in-fact by the flu vaccine; and denies

that the flu vaccine caused petitioner any other injury or her current condition.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2 I (a)(I ), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

        A lump sum of$105,000.00 in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C.
        § 300aa-l 5(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2 l (a)(I ), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        10. Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.


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         Case 1:19-vv-01018-UNJ Document 31 Filed 05/05/21 Page 5 of 7




§ I 396 et seq.)), or by entities that provide health services on a pre-paid basis.

        I I. Payments made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U .S.C. § 300aa- I 5(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorney's fees and litigation costs, the money provided pursuant to this Stipulation will be

used solely for the benefit of petitioner as contemplated by a strict construction of 42 U.S.C.

§ 300aa-l 5(a) and (d), and subject to the conditions of 42 U.S.C. § 300aa-l 5(g) and (h).

        I 3. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on October 5, 2016, as

alleged in a petition for vaccine compensation filed on or about July 16, 2019, in the United

States Court of Federal Claims as petition No. 19-1018V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.


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         Case 1:19-vv-01018-UNJ Document 31 Filed 05/05/21 Page 6 of 7




        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged injury or

any other injury or her current disabilities.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                      END OF STIPULATION

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                     Case 1:19-vv-01018-UNJ Document 31 Filed 05/05/21 Page 7 of 7


  Rcspcctfi.llly submitted.

  PETITIONER:

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  SHERR
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  ATTORNEY OF RECORD FOR                               AUTHORIZED REPRESENTATIVE
  PETITIONER:                                          OF THE ATTORNEY GENERAL:



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                                                                                     ~
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  AUTHORIZED REPRESENTATIVE                            ATTORNEY OF RECORD FOR
  OF THE SECRETARY OF HEALTH                           RESPONDENT:
  AND HUMAN SERVICES:


CA/JTD~ ~
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                                 / Dr/Sc-,~,i,         ~~~&~
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